            Case 1:17-cv-04179-DLC Document 78 Filed 01/08/18 Page 1 of 3




                                          January 8, 2018

Via CM/ECF

Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl Street, Room 1610
New York, NY 10007

       Re:      Alpine Securities Corporation adv. United States Securities and Exchange Comm.
                Civil No. 1:17-cv-04179-DLC

             STIPULATED LETTER MOTION REQUESTING AN EXTENSION
              TO THE BRIEFING SCHEDULE FOR DISPOSITIVE MOTIONS

Dear Judge Cote:

        This letter is being jointly filed by Defendant Alpine Securities Corporation (“Alpine”)
and Plaintiff Securities and Exchange Commission (“SEC”) to request an extension to the
briefing schedule for dispositive motions. Alpine is requesting an additional week to file an
opposition to the SEC’s Motion for Partial Summary Judgment and Cross-Motion for Summary
Judgment. The SEC’s is requesting an additional week to file its Reply Memorandum in Support
of its Motion for Partial Summary Judgment and opposition to Alpine’s Cross-Motion for
Summary Judgment. The final deadline for Alpine’s Reply Memorandum is adjusted
accordingly.

       Pursuant to the Court’s Individual Practices 1.E:

       1.    The original due date for Alpine’s opposition to the SEC’s Motion for Partial
             Summary Judgment and Cross-Motion for Summary Judgment is January 12, 2018,
             and the original due date of the SEC’s Reply Memorandum in Support of its Motion
             for Partial Summary Judgment and opposition to Alpine’s Cross-Motion for
             Summary Judgment is January 26, 2018.

       2.    This is Alpine’s first request for an extension and the SEC’s second request.
            Case 1:17-cv-04179-DLC Document 78 Filed 01/08/18 Page 2 of 3



       3.    The SEC’s first request for an extension to file its Motion for Partial Summary
             Judgment was granted.

       4.    Both parties stipulate to the briefing schedule below.

       If the extension is granted, the briefing schedule for dispositive motions will be as
follows:

       1. Alpine may file an opposition to the SEC’s Motion for Partial Summary Judgment
          and a Cross-Motion for Summary Judgment on or before January 19, 2018.

       2. The SEC may file a Reply Memorandum in Support of its Motion for Partial
          Summary Judgment and an opposition to Alpine’s Cross-Motion for Summary
          Judgment on or before February 9, 2018.

       3. Alpine may file a Reply Memorandum in Support of its Cross-Motion for Summary
          Judgment on or before February 26, 2018.

        A trial date has not been set in this matter and the above extensions to the briefing
schedule will not affect any other scheduled dates in this case. Accordingly, the parties
respectfully request that the Court approve an extension of time as requested herein.

                                               Respectfully submitted,

                                               /s/ Zachary T. Carlyle
                                               Zachary T. Carlyle (pro hac vice)
                                               Terry R. Miller (pro hac vice)
                                               Attorneys for Plaintiff
                                               UNITED STATES SECURITIES AND
                                               EXCHANGE COMMISSION
                                               1961 Stout Street, 17th Floor
                                               Denver, Colorado 80294
                                               (303) 844-1000

                                               /s/ Brent R. Baker
                                               Brent R. Baker (BB 8285)
                                               Aaron D. Lebenta (pro hac vice)
                                               Jonathan D. Bletzacker (pro hac vice)
                                               CLYDE SNOW & SESSIONS
                                               One Utah Center, 13th Floor
                                               201 South Main Street
                                               Salt Lake City, Utah 84111-2216
                                               Telephone 801.322.2516
                                               Facsimile 801.521.6280
                                               Email: brb@clydesnow.com
                                                       adl@clydesnow.com
        Case 1:17-cv-04179-DLC Document 78 Filed 01/08/18 Page 3 of 3



                                            jdb@clydesnow.com

                                     Maranda E. Fritz
                                     335 Madison Avenue, 12th Floor
                                     New York, New York 10017-4611
                                     Tel. (212) 344-5680
                                     Fax (212) 344-6101
                                     Maranda.Fritz@thompsonhine.com

                                     Attorneys for Alpine

cc: Counsel of Record (via CM/ECF)
